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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                                       Norfolk Division

  R.M.S. TITANIC, INC.,
  successor in interest to Titanic
  Ventures, limited partnership.

                 Plaintiff,

  V.                                                 Civil Action No. 2:93cv902

  The Wrecked and Abandoned
  Vessel,.. .believed to be
  the RMS TITANIC, in rem,

                 Defendant.




                  PLAINTIFF'S MOTION TO APPROVE
        ASSET PURCHASE AGREEMENT AND AUTHORIZE THE SALE
   OF 100% OF RMST'S STOCK TO PREMIER ACQUISITION HOLDINGS LLC
           OR OTHER QUALIFIED PURCHASER AS APPROVED BY THE
                                     BANKRUPTCY COURT

         NOW COMES Plaintiff, RMS Titanic, Inc. ("RMST"), by and through counsel,

  and moves this Court for entry of an order approving the Asset Purchase Agreement

  executed by Premier Exhibitions, Inc. ("Premier"), RMST and other affiliates of Premier,

  and Premier Acquisition Holdings LLC, a Delaware limited liability company (the

  "Stalking Horse Purchaser"), and authorizing the sale of 100% of RMST's stock to the

  Stalking Horse Purchaser, or such other prevailing qualified bidder as determined by the

  Bankruptcy Court.

          In support of its Motion to Approve Asset Purchase Agreement and Authorize the
  Sale of 100% of RMST's Stock to Premier Acquisition Holdings LLC, or Other Qualified

  Purchaser as Approved by the Bankruptcy Court ("The Motion"), Plaintiffrefers the

  Courtto its Memorandum in Support, filed simultaneously herewith.
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          RMST respectfully requests that the Court grant the Motion and enter the attached

  Proposed Order, for the reasons set forth in the accompanying Memorandum in Support.

                                                      Respectfully submitted,

                                                      R.M.S. TITANIC, INC.

                                                      By Counsel


  Counsel:




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                                     CERTIFICATION


          I hereby certify that a copy of the foregoing has been hand delivered to Kent
  Porter, Esq., U.S. Attorney's Office, 8000 World Trade Center, Norfolk, VA 23510, this
  ^^1*' day of June. 2018.



                                              Robert W. McFarland




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